AO 243 (KRy. 2

*
£95)

MOTION UNDER 78 USC § 2252 TO VACATE, SET ASIDE, OR CORRECT

 

 

   

        
  

 

 
 
 

SENTENCE BY _A PERSOK IN FEDEHAL CUSTODY A.4Y Ce Satz 4
United states District Court istic: SRN DISTRICT. OF ‘CAL TFORNE

Name or Movant ° : ]oase No.

Piace of Confinement

 

 

 

  
 
 

 

UNITED STATES OF AMERICA \. WILLIE RIOJAS GUILLERMO

(name under which contirted)

 

6.

\

 

3, Length of sentence

4, Nature of offense involved (all counts) :
5, What was your plea? (Check one}
(a) Not guilty LX
(b) Guilty Ci
(c} Nolo contendere LC]

   

MOTION

Name and location of court which. entered the judement of conviction under attack

 

 

 

 

 

 

 

   

If you entered a guilty plea to one count or indictment, and a nat guilty plea to another count or indictment,

, give details:

 

 

If you pleaded not guilty, what kind of trial did you have? (Check one) .
(2) Jury es
(b) Judge only CI]

Did vou testify at the trial?

Yes rl No mal

Did you appeal from the judgment of conviction?

Yes X] No CL]

 

 

 
 

pe
r

 

 

 

pene

 

 

 

fo} Result

(c) Date of result

  
 

 

Otherthan a direct appeal! from the judgment of conviction and sentence, have you previously filed anv petitions, applications,
or motions with respect to this judgment in any federal court?
Yes [4 No

If your answer to 10 was “yes,” give the following information:

 

 

(a) (1) Name of court

    
 

 

   

2) Nature of proceeding

 

ounds raised

ent

(4) Did you receive an evidentiary hearing on your petition, application or motion?

Yes | No
(5} Result :

(6) Date of result

 

 

 

{b) As to any second petition, application or motion give the same information:

shee

(1) Name of court

 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

12.

(4) Did von receive an evidemiary hearing on vour peution, application or motion?

Yes {| No [|

 

 

 

(ce) Did vou appeal, to an appeliate federal court having jurisdiction, the result of action taken on any petition, application

or motion?
C1) First petition, ete. Yes>] Nof-]
(2) Second petition, etc. Yes [| No [J

fd) If you did not appeal from the adverse action on any petition, application or motion, explain briefly why you did not:

 

 

 

State concisei every ground on which you claim that you are being heid in violation of the constitution, laws or treaties of
the United States, Summarize briefly the facts supporting each ground. Ifnecessary, vou may attach pages stating additional
grounds and facts supporting same.

 

Tf vou fail to set forth all crounds in this motion. vou mav be barred from oresenting additional crounds at later

 

~ CAUTION:
date.

 

For your information, the following is a jist ofthe most frequently raised grounds for relief in these proceedings, Each
statement preceded by a letier constitutes a separate ground for possible relief. You may raise any grounds which youhave
other than those listed. However, vou shouid raise in this motion all available grounds (relating to this conviction) on which
you based your allegations that vou are being held in custody unlawfully.

Do not check any of these listed grounds. Ifyou select one or more of these. grounds for relief, you must allege facts.
The motion wili be renamed to von if you merely check (a) through (j) or any ons of these grounds.

(a) Conviction obtaimed py plea of guilty which was unlawfully induced or not made voluntarily or with understanding of
the nature of the charge and the consequences of the plea.
(b) Conviction obtained by use af coerced confession.

 

(4)

 

 
.

AOQMS (Rev. 2

 

(c} Conviction obtained by use of ewidence cained pursuant to an unconstitutional search and seizure,
} Conviction obiained by use of evidence obtained pursvami 10 an unlawful arresi.
{e} Conviction obteined bs. a vialation of tne privilege against self-incrimination.
(Conviction obtained by the unconstitutione! failure of the prosecution to disclose to the defendam evidence
favorable to the defendant.
(g} Conviction obtained by 2 violation of the protection against double jeopardy,
(h} Conviction obtained by action of s grand or petit jury which was unconstitutionally selected and impansied.
(i) Denial of effective assistance of counsel.
G} Denial of right of appeal.

 

oad

 

A. Ground one:

 

 

 

Supporting FACTS (state briefly without citing cases or Jaw:

 

 

 

  

eee he

 

 

 

 

 

 

 

 

G)
 

 

13

 

 

   

D. Ground four:

 

 

 

Supporting FACTS (state briefly without citing cases or law’):

 

 

 

 

 

 

 

 

14. De you have any petition or appeal now pending in any court as to the Judgment under attack?

La

Yes Tr] No ix]

Give the name and address, if known, of each attorney who represented you in the follawing stages of the judgment attacked
herein:

(a) At preliminary hearing

 

 

(b) At arraignment and piea

   
 

 

 

 

 

(ec) Attrial

 

 

 

(dj) At sentencing

   
 

 

 

)

 

 
 

AC253 (Rev. 2/95)

 

16.

17.

1

 

fe} On appeal

 

  
 
 
  

 

(f) In any post-conviction proceeding

 

 

{g) On appeal from any adverse ruling in a pasi-conviction preceeding

 

 

Were vou sentenced on more than one count of an indictment, or on more than one indictment, in the same court and at
approximately the same time?

ves [x] No []

Do vou have any future sentence to serve after you complete the sentence imposed by the judgment under attack?
‘ 4 3 jucg

Yes [| No

 

 

 

 

(c) Have you filed, or do you contemplate filing, any petition attacking the judgment which imposed the sentence to be
served in the future?

ves] wo [1]

Wherefore, movant prays that the Court grant him all relief to which he may be entitled in this proceeding.

&

Signature of Attorney (if any)

 

 

A, Le Che topes & Ket cs ec
ant

Signature of Mov,

 

@)

 

 
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Cii)
UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
Plaintiff/Respondent,

VS.

WILLIE RIOQJAS GUILLERMO,

Defendant/Petitioner,

 

Case No:

 

Criminal Case No:
1:94-m-2332

 

Motion and incorporated memorandum of law in support to Vacate,Set

Aside or Correct a sentence by a person in federal custody pursuant

to title 28 U.S.C. §2255.

COMES NOW, the petitioner in the above captioned case, in pro-se

and files this Motion and Incorporated Memorandum of Law in Support

of his Mction to Vacate, Set Aside or Correct a Sentence by a person

in FederalCustody pursuant

to Title 28 U.8.C. §2255.

Petitioner states that he is innocent of the alleged violation 18

usc 1951 (a), Interference
of justice.ii..has occured
endment rights.

Petitioner requests a copy

well as a brief recital as

of State Commerce;i-and a miscarriage

in violation of petitioner's Eighth Am-

after the filing of this petition as

to why relief should not be granted,

as well as a timely responce.
Statement of Case

 

Petitioner was found guilty by jury and sentenced to. four
counts. of the indictment as follows:

Sentenced imposed as to counts 5, Interference with comm-

erce by threat or violence, count 6, Violent crime/drugs/machine

gun, count 11, Motor vehicle theft-carjacking, and count 12,

Violent crime/drugs/machine gun. Petitioner was sentenced to a

term of 96 months custody as to counts 5 and 11 to be served con-

currently; and 10 years consecutive on count 6, and 20 years con--

secutive on count 12. Sentence was pronounced before Judge Crocker
in the UNITED STATES DISTRICT COURT EASTERN DISTRICT OF CALIFORNIA.
Petitioner contends that the District court Judge exceeded
its jurisdiction by applying illegal enhancement(s) and sentenc-
ing petitioner to a 'nonexistent'offense for the following reason(s).
Memorandum of Points and Authorities
The court of Appeals held that:

(4) court could sua sponta review issue raised by intervening
change in law by Supreme Court;

(2) Blakely rule applies to sentences imposed under Sentencing
guidelines;

(3) judicial fact-finding applies on base offense level and fire-
arm enhancement violated Blakely;

(4) Blakely did not render unconstitutional Guidelines as a whole,
but required severance of procedural aspects of applying Guide-
lines; and

(5) resentencing could not violate double jeopardy.

Petitioner appeals his sentence imposed and contends that the

District Courts fact-finding procedure was clearly erroneous and

was based on 'twice in jeopardy' as well as sentence imposed to

a nonexistent offense, FURTHERMORE, the savings clause of §2255

applies to a claim when: 1) that claim is based upon a retroactive-

ly applicable Supreme Court decision; 2) the holding of that Supreme

Court decision establishes that petitioner was convicted for a non-

existent offense; and 3) Circuit law squarely forclosed such a claim

at the time it otherwise should have been raised in the petitioner's

-2-
trial, appeal, or first §2255 motion. (See Wofford, 177 F. 3d at
1237), THEREFORE.this court has jurisdiction to hear this petit-
ion.

Petitioner contends that the sentence he received in relation
to count (5), INTERFERENCE WITH COMMERCE BY THREAT OR VIOLENCE is
a illegal sentence. Violation of 18 U.S.C. § 1951(a), that statute,
the Hobbs Act, provides in relevant part:

Whoever in any way or degree ob-—
Structs, delays, or affects comm-
erce or the movement of any art-
ticle or commodity in commerce,

by robbery or extortion or attempts
conspires so to deo, or commits or
threatens physical violence to any
person or property in furtherance
of a plan or purpose to do anything
in violation of this section shall .
be fined under this title or impri-
soned not more than twenty years,
or both.

Petitioner maintains that, insufficient evidence existed to
support a finding that his robbery affected interstate commerce
and had no effect on interstate commerce beyond an absolute de
minimis effect. In United States v_ Collins, the Fifth Circuit
formulated a test for determining when the robbery or extortion
of an individual would have the requisite de minimis effect. (40
F. 3d at 100). Under this test, crimes directed toward an indivi-
dual violated the Hobbs Act only if:

(1) the acts deplete the assets of an individual who is

directly and customarily engaged in interstate commerce;

(2) if the acts cause or create the likelihood that the

individual will deplete the assets of an entity engaged

in interstate commerce; or (3) if the number of indivi-

duals victimized or the sum at stake is so large that
there will be some cumulative effect on interstate comm-

erce.

Based on these same principles of federalism, the Eighth and

Eleventh Circuits have expressly adopted the collins test. Diaz,

3.
248 F. 3d at 108485 (11th Cir.); Quigley, 53 F. 3d at 910-11 (8th
Ce cnout adopting a specific test, the Fourth, Sixth, and Seven-
th Circuits have also distinguished between the robbery of a private
individual and the robbery of a business or business person in deter-
mining whether the federal government may prosecute under the Hobbs
Act. Wang, 222 F. 3d at 238-39 (6th Cir.); Buffey, 899 F. 2d at 1404,
1406 (4th Cir.); Mattson, 671 F. 2d at 1024-25 (7th Cir.). Jurisdict-
ion over a violation of the Hobbs Act couid be supported by only a de
minimis effect on interstate commerce, including a de minimis effect
that was probable rather actual, see Atcheson, 94 F. 3d at 1243.

‘moms and

Petitioner alledgely partisipated in a robbery of a
pops’ hamburger stand for the amount of less than $200.00 (two hun-
dred dollars), which did not deplete the assets of an individual or
the assets of an entity engaged in interstate commerce and the sum
at stake was not so large that it had a cumulative effect on inter-
state commerce, THEREFORE, if the regulated activity "is in no sense
an economic activity that might, through repetition elsewhere, sub-

' not even a de

stantially affect any sort of interstate commerce,’
minimis effect on interstate commerce will not have been demonstrat~
ed as in this case and for all the reason(s) why this sentence is
illegal and in violation of petitioner's constitutional rights.

The court also sentenced petitioner to 10 years consecutive
on count (6), VIOLENT CRIME/DRUGS/MACHINE GUN and 20 years consec-
utive on count (12), VIOLENT CRIME/DRUGS/MACHINE/GUN. Petitioner
contends that this sentencing procedure was not only double counting
but also placed petitioner ‘twice in jeopardy for the same offense.'

Petitioner was sentenced to 10 years in violation of 18 U.S.C.

924 (c)(1) and then enhanced another 20 years for the same firearm

in question. The Supreme Court has emphasized the prohibition of

~4-
the Double Jeopardy Clause as not against being "punished twice,"

but against being twice put in jeopardy of conviction for the same
offense, and that “Chlarassment of an accused by sucessive prosecu-
tions so as to afford the prosecution a more favorable opportunity

to convict are examples when jeopardy attaches."

Downum v_United
States, 372 U.S. 734, 736, 83 S. Ct. 1033, 1034, 10 L. Ed. 2d 100.
The test for identity of offenses charged, for purposes of double
jeopardy and duplicity, is "whether the same evidence is required
to sustain them," Morgan v Devine, 237 U.S. 632, 641, 35 S. Ct. 712,
714, 59 L.Ed 1153. And see: Beacham v. United States, (10 CA). 218 F.
2d. 528; Rayborn v. United States, 234 F. 2d 368 (6 CA), and Marshall
v. United States, (10 CA), 299 F. 2d 141. Petitioner asserts that
the offense twice charged against him is illegal use:of firearm dur-
ing crime of violence twice and evidence being statutorily sufficient
to authorize conviction, only one conviction is permissible under the
statute. "If the two offenses involved are statutorily provable by
the same facts, they are identical for purposes of double jeopardy,
and petitioner must prevail." (Waters v_ United States,) 323 F. 2d
739 (1964), FURTHERMORE, petitioner has a Civil/Criminal docket-
ing sheet that allege count(s) six and eleven as VIOLENT CRIME/
DRUGS/MACHINE GUN? Petitioner never possessed, used, or was found
guilty of a MACHINE GUN!! Pursuant to Title 18 §924(c)(1)(B) (i) which
states in part; (B)Ci) If the firearm possessed by a person convict-
ed of a violation of this subsection--
(i) is a short-barreled rifle, short-barreled shotgun, or semi-

‘“automatic assault weapon, the person shail be sentenced to

a term of imprisonment of not less than 10 years;
the definition(s) of a firearm also can be found pursuant to title

26 § 5845 (a), petitioner was alleged to have a shot-gun and not a

machine gun, Therefore, this enhancement is also illegal and should
have not been applied. This case is liken somewhat to U.S. v. LYNCH

-5-
282 F. 3d 1049 (9th Cir. 2002) as well as U.S. v. HOWARD, 352 F. 3d
332 (7th Cir. 2003). In Howard, the defendants were indicted for us-
ing and carrying a firearm to commit a crime of violence under sec.
924(c) and were sentenced to that count and also enhanced under the
same provision(s), HOWEVER, the case mentionted is very explicit in
explaining that 924¢c) section provides a mandatory consecutive sen-
tence for any person who uses or carries a firearm in furtherance of
a crime of violence, but if both the Guideline weapon enhancements _
for robbery and the sentence for §924(c) are imposed, the combination
effectively double counts the use of the firearm. See U.S.S.G. §2K2.4
emt. n. 2.€1992); United v. Marzek, 998 F. 2d 453, 454 (7th Cir.1993).
(noting that a 924(c) conviction precludes weapon enhancements).

Amendmant 599 added two new paragraphs that included the same
general admonition against double counting and added some clarificat-
ions to explain when double counting exists. ("The first sentence of
the new application note reinforces what courts have always known when
a defendant is convicted of a §924(c) violation and the underlying
offense, the defendant's possession of a weapon cannot be used to en-
hance the level of the underlying offense."). See U.S. JOHNSON, 352
F. 3d Id. at 337-338).

Finally, the principal issue at hand concerns the lawfulness
of the sentence. After the Supreme courts decision in Booker/Fan-
Fan/Crosby, petitioner contends that the enhancement(s) which were
based on the District Judge's fact-finding which compelled the Judge
to add twice under the guidelines, violated petitioner's Sixth Amen-
dant Right to trial by jury.

Section 3553(a)(d)(3) provides the kind of sentences available
and (4) the kinds of sentence and the sentence range established,...

6.

 
section (a) the applicable category of offense commited by the appl-
icable category of defendant as set forth in the guidelines the court
shall also have due regard for the relationship of the relationship
of the sentence imposed to sentences prescribed by guidelines app--
licable to similar offenses and offenders, and to the applicable
policy statements of the Sentencing commission.

The mamimum for Apprendi purposes is the maximum sentence a
judge may impose solely on the basis of the facts reflected in the
jury verdict or admitted by the defendant, trial court must impose

criminal punishment/penalties that legislature has mandated and has
no authority to impose punishment other than that provided by statue.
People v. Malchow, 306 Ill. App. 3d 665. Even in cases in which a
district judge specifically indicated an alternative sentence that
would have been imposed if compliance with the guidelines were not
required, that alternative sentence is not necessarily the same one
that the judge would have imposed in compliance with the duty to
consider all of the factors listed in section3553(a).
In United States v. Hamilton, 553 F. 2d 63 (10 Cir. 1977) the
10 Cir. adopted the "miscarriage of justice" test established by
established by the the Supreme Court. ([Wlhether the claimed error of law was
a fundamental defect which inherently results in a complete miscarriage of jus-
tice, and whether it presents exceptional circumstances where the need for the
remedy afforded by the writ of habeas corpus is apparent.

Tt is apparrent that this is an exceptional circumstance and
a manifest injustice and a blatent violation of petitioners con--
stitutional rights and the only correction is to Vacate and or
Set Aside petitioners conviction imposed in violation of relevant

statutes, even if correction would not shorten defendant's stay

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in prison. See Haywood v. U.S. 216 F. Supp. 2d 725 (2002).

Because there is insufficient evidence to show that petitioner
committed the underlying crime of robbery under the Hobbs Act, there
is insufficient evidence to convict petitioner under §924(c). Petit-
toners conviction under counts (6), (12) and (5) must be reversed.

For all reason(s) stated within and throughout this petition;.
petitioner requests a timely responce as weaa as a brief recital as
to why relief should not be granted: See also, United States v. Min
Nan WANG, 2000 WL 1060375 (6th Cir. Tenn.). ae
a

Willie Riojas Gdillermo
Pro-se petitioner

 

Dated this ®%? day of SEL »2005.

 
CERTIFICATE OF SERVICE -

 

On this XO ,day of Jely 2005, I Willie Riojas Guillermo

deposited in the legal mail box at Florence USP a true and correct

copie(s) of my §2255 and sent to the below address:
OF Free 6 Fe C/ERK

JL 38C O° SJhee7 En) 8 COD

US COU HHSC Baffin G

 

 

 

FRESALO OBL: [Cf NMI GBIRI~ 22S
oe

 

I declare under penalty of perjury that the above is a true, correct,

and complete statement.

GL Charo egin
